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                                   5                              UNITED STATES DISTRICT COURT

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                                                                NORTHERN DISTRICT OF CALIFORNIA
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                                   9   UNITED STATES OF AMERICA,
                                  10               Plaintiff,                              No. CR 16-0440 WHA

                                  11         v.

                                  12   YEVGENIY ALEKSANDROVICH
Northern District of California




                                                                                           MINUTE ORDER
 United States District Court




                                       NIKULIN,
                                  13
                                                   Defendant.
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                                  16       The following message was provided to all 16 jurors:

                                  17                  In light of the shelter in place directive by the six Bay Area counties, trial will

                                  18              be suspended for two days: Tuesday, March 17, 2020 and Wednesday, March 18,

                                  19              2020 while the Court evaluates what needs to be done in respect to this trial.

                                  20              Please continue to honor your responsibilities as a juror. Do not discuss the case

                                  21              or do any research about the case. Please check back for instructions on

                                  22              Wednesday night whether or not to report for service on Thursday, March 19,

                                  23              2020.

                                  24                      Please respond to Theresa Hoang by tomorrow, Tuesday, March 17 at 4:00

                                  25              PM concerning any hardship you may have in continuing to serve on this jury and

                                  26              continuing to serve if the trial were to continue past the end of next week. The

                                  27              Court is not yet in a position to grant any such hardship or discharge any member

                                  28              of the jury, but the Court is inquiring about their ability to continue to serve. In
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                                   1              addition, please advise Theresa whether you will still be able to serve as a juror in

                                   2              the event that the trial were suspended for the duration of the shelter in place

                                   3              directive (which ends on April 7, 2020) with trial to resume thereafter. Thank you

                                   4              and take care.

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                                   6       IT IS SO ORDERED.

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                                   8   Dated: March 16, 2020

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                                                                                             WILLIAM ALSUP
                                  11                                                         UNITED STATES DISTRICT JUDGE
                                  12
Northern District of California
 United States District Court




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